                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

DEVERY DAVIS and CLIFTON      §               CIVIL ACTION NO. 4:20-cv-00724
HUMPHREY, INDIVIDUALLY AND    §
ON BEHALF OF ALL OTHERS       §
SIMILARLY SITUATED,           §
                              §
     Plaintiffs               §
                              §
v.                            §
                              §
FIVE OAKS ACHIEVEMENT         §               COLLECTIVE ACTION
CENTER, LLC d/b/a FIVE OAKS   §
ACHIEVEMENT CENTERS;          §
WHISPERING HILLS ACHIEVEMENT §
CENTER, LLC d/b/a WHISPERING  §
HILLS ACHIEVEMENT CENTER; and §
NORTH FORK EDUCATIONAL        §
CENTER, LLC d/b/a NORTH FORK  §
EDUCATIONAL CENTER            §
                              §
     Defendants.              §

                                       ORDER

      Plaintiffs timely filed their jury demand in compliance with Federal Rules Civil
Procedure 38. The Court hereby GRANTS Plaintiffs’ Jury Demand.

      So ORDERED and SIGNED this _____ August, 2020.


                                       ______________________________
                                       Keith P. Ellison
                                       United States District Judge
